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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

Civil Action No.:

 

PETER TALMAGE and CHRISTINE TALMAGE,
Plaintiffs,

COMPLAINT
KEUKA LAKESIDE ]NN, INC. and RONALD LEONARD,

Defendants.

 

Plaintiff s Peter Talmage and Christine Talmage, by counsel, for their Complaint, state
as follows:

Jurisdiction
Jurisdiction is based on so-called diversity of citizenship pursuant to 28 U.S.C. §
1332(a)(1), with the amount in controversy in excess of Seventy-Five Thousand
($75,000.00) Dollars.
XM
Venue is based upon 28 USC l391(b)(2).
The Parties

1. Plaintiff Peter Talmage (“Plaintift”) is an individual, a citizen of the Commonwealth of
Massachusetts, and resides in Amherst, Massachusetts.

2. Plaintiff Christine Talmage (“Plaintiff spouse”) is an individual, a citizen of the
Commonwealth of Massachusetts, and resides in Amherst, Massachusetts.

3. At all times relevant to the Complaint, Plaintiff spouse was married to and resided with
Plaintiff.

4. Defendant Keuka Lakeside Inn, Inc. (“Defendant lnn”) is a New York corporation with
an usual place of business at 24 Water Street, Hammondsport, County of Steuben, New York
14840.

5. At all times relevant to the Complaint, Defendant owned and operated an inn known as
the Keuka Lakeside Inn (the Inn”), located at 24 Water Street, Harnmondsport, NY 14840.

6. Defendant Ronald Leonard (“Defendant Leonard”) is an individual, a citizen of the

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State of New York, and resides at 9517 Manley Hill Road, Lindley, County of Steuben, New
York 1485 8.

7. At all times relevant to the Complaint, Defendant Leonard was the innkeeper for the
lnn, and was responsible for operating and maintaining it and for otherwise keeping the Inn
reasonably safe for the use of its guests.

Nature of the Action

8. This is an action for money damages for personal injury suffered by Plaintiff on
September 15, 2015 while a guest at Defendant’s lodging establishment in Hammondsport,
New York, Defendant and its lnnkeeper, Defendant Leonard, failed to maintain its property in a
reasonably safe condition, causing or contributing to cause Plaintiff to fall in excess of seven
feet and sustain serious and permanent injuries Defendant Plaintiff’s spouse also suffered a
loss of consortium as a result of the injury to her husband.

Facts Alleged

9. At all times relevant to the Complaint, the Inn was located on property in
Hammondsport, New York, which property was between adjacent Keuka Lake to the east and
adjacent Water Street to the west.

10. At all times relevant to the Complaint, a culvert known as the Hammondsport
Flume (“the flume” or “the culvert”) crossed the lnn’s property.

ll. The tlume was owned and/or operated and maintained by the State of New York, and
was part of said state’s flood control system.

12. The tlume was up to seven or more feet deep and more than five feet wide where it
crossed the lnn’s property, was lined with concrete, and lacked any barricades, fencing or
barriers of any kind that would prevent a person from falling into said flume.

13. The vertical walls on both sides of the flume extended above the level of the ground
adjacent to the culvert, such that the walls created a tripping hazard to persons, including but
not limited to guests of the Inn, who were traversing the lnn’s property.

14. The Inn was located immediately adjacent to a public recreation area, a parking lot, and
to downtown Hammondsport, and, at all times relevant to the Complaint, it was known and/or
foreseeable to Defendant lnn and Defendant Leonard that persons, including children, who
visited the recreation area and/or utilized the parking lot, as well as guests of the lnn and others,
would traverse the lnn’s property in the area of the ilume.

15. At all times relevant to the Complaint, there Was no artificial lighting on property of the
lnn or anywhere to illuminate the culvert at night.

16. At all times relevant to the Complaint, there were no signs or warnings of any kind
provided to guests of the Inn or anyone else, warning them about the presence of the culvert

across the lnn’s property.
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17. At all times relevant to the Complaint, Plaintiff was a guest of Defendant Inn.

18. Plaintiff had never been to the lnn, to Hammondsport or to Keuka Lake, prior to
September 15, 2016.

19. On the evening of September 15, 2015, at or about 10:00 p.m., while the Plaintiff was
walking adjacent to said Water Street and towards the lnn, he tripped over the south wall of the
said culvert, east of the culvert’s intersection with Water Street.

20. Plaintiff was caused to be violently precipitated approximately seven feet to the
bottom of the culvert, landing on his head and causing him to sustain serious and permanent
injuries

COUNTI e li ence

21. Defendant Inn and Defendant Leonard were negligent in failing to maintain the Inn in a
reasonably safe condition, including but not limited to their:

a. Failure to illuminate the flume such that it would be visible to guests such as
Plaintiff and other persons who would foreseeably traverse the property of the Inn at
night; and,

b. Failure to warn guests such as Plaintiff and other persons who would foreseeably
traverse the property of the Inn at night, through visible and illuminated signs and
any other warnings, of the existence of the flume.

22. As a direct and proximate result of the negligence of Defendant Inn and Defendant
Leonard as aforesaid, Plaintiff was caused to plummet into the flume as aforesaid, and to
sustain serious and permanent injuries

WHEREFORE, PLAINTIFF PETER TALMAGE DEMANDS JUDGMENT AGAINST
DEFENDANTS KEUKA LAKESIDE INN, INC. and RONALD LEONARD IN THE SUM
OF SIX lVlILLION ($6,000,000.00) DOLLARS, PLUS COSTS.

COUNT II gConsortium)

23. Plaintiff spouse realleges and reaflirms paragraphs 1 through 22 as if specifically
alleged and affirmed herein.

24. As a result of the negligence of Defendant Inn and Defendant Leonard as detailed
hereinbefore, Plaintiff spouse was deprived of the consortium, comfort, companionship,
household services and love, affection and enjoyment of Plaintiff, and has been informed and
verin believes that such deprivation will be permanent

WHEREFORE, PLAINTIFF CHRISTINE TALMAGE DEMANDS JUDGMENT
AGAINST DEFENDANTS IGEUKA LAKESIDE INN, INC. and RONALD LEONARD IN

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THE SUM OF TWO MILLION ($2,000,000.00) DOLLARS, PLUS COSTS.

COUNT III (PUNITIVE DAMAGES)

25. Plaintiff and Plaintiff spouse reallege and reaffirm paragraphs l through 24 as if
specifically alleged and affirmed herein.

26. The above-described failures of Defendant lnn and Defendant Leonard to illuminate the
flurne during the night and/or warn its guests of the presence of the flume, particularly given
the foreseeable presence of guests and others unfamiliar with the lnn’s property, the tripping
hazard created by the rlume’s walls extending over the level of the adjacent ground, and the
risk of serious injury or death from falling into the approximately seven foot deep concrete
ilume, constitute wilful or wanton negligence, recklessness and/or a conscious disregard of the
rights of others or conduct so reckless as to amount to such disregard

27. Plaintiff and Plaintifi`s spouse are therefore entitled to an award of punitive damages as
against Defendant Inn and Defendant Leonard.

WHEREFORE, PLAINTIFFS PETER TALMAGE AND CHRISTINE TALMAGE
DEMAND JUDGMENT AGAINST DEFENDANTS KEUKA LAKESIDE INN, INC. and
RONALD LEONARD FOR PUNITIVE DAMAGES IN THE SUM OF TWELVE
MILLION (512,000,000.00) DOLLARS, PLUS COSTS.

PLAINTIFFS DEMAND TR[AL BY JURY ON ALL COUNTS

Dated: New York, New York
August 27, 2018

Yours, etc.
CHARNAS LAW FIRM, P.C.

By: Scott E. Charnas

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